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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                   ) Case No.: 2:15-cr-00177-GEB
10                                               )
                   Plaintiff,                    ) [PROPOSED] ORDER FOR
11                                               ) EXONERATING THE BOND
            vs.                                  )
12                                               )
     JASON MATECKI,                              )
13                                               )
                   Defendant.                    )
14                                               )
15
16                       REQUEST TO EXONERATE THE BOND
                      FOR THE NORTH BOITANO ROAD PROPERTY
17
18          On December 9, 2015, Mr. Matecki was ordered released on a $250,000 property
19   bond located at 13955 North Boitano Road, Groveland, California 95321.
20          On August 30, 2017, Mr. Matecki was ordered detained. On October 27, 2017,
21   Jason Matecki was sentenced. Therefore, it is hereby requested that the secured
22   appearance bond be exonerated for the property at 13955 North Boitano Road,
23   Groveland, California, and that the Clerk of the District Court be directed to re-convey
24   the property to the surety, Kenneth L. Wagner Jr. in his family trust.
25
     DATED: November 7, 2017                   Respectfully submitted,
26
27                                             /s/ Thomas A. Johnson
                                               THOMAS A. JOHNSON
28                                             Attorney for Jason Matecki



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 1                                            ORDER
 2
 3          IT IS SO ORDERED that the appearance bond secured by a Deed of Trust
 4   against the real property of Kenneth L. Wagner Jr. in his family trust located at 13955
 5   Boitano Road, Groveland, CA, 95321 is hereby exonerated. The Clerk of the Court is
 6   directed to re-convey the property back to the owners.
 7          Dated: November 8, 2017
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